                  Case 23-11069-CTG              Doc 34          Filed 08/07/23         Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                        )
    In re:                                              )       Chapter 11
                                                        )
    YELLOW CORPORATION, et al.,1                        )       Case No. 23-11069 (CTG)
                                                        )
                             Debtors.                   )       (Joint Administration Requested)
                                                        )
                                                        )       Related Docket No. 16
                                                        )       Hearing Date: August 9, 2023, at 3:00 p.m. (ET)
                                                        )

NOTICE OF HEARING2 ON MOTION OF DEBTORS FOR ENTRY OF INTERIM AND
        FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN
      POSTPETITION FINANCING AND (B) UTILIZE CASH COLLATERAL, (II)
 GRANTING LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
(III) MODIFYING THE AUTOMATIC STAY, (IV) AUTHORIZING THE DEBTORS TO
  USE UST CASH COLLATERAL, (V) GRANTING ADEQUATE PROTECTION, (VI)
    SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

                   PLEASE TAKE NOTICE that on August 7, 2023, the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) filed the Motion of Debtors for Entry of

Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and

(B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims,

(III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use UST Cash Collateral, (V)

Granting Adequate Protection, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief

[Docket No. 16] (the “DIP Financing Motion”).




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
      Overland Park, Kansas 66211.
2
      The hearing will be conducted entirely via Zoom videoconference. You may register to monitor or appear at
      the hearing by following this link: https://debuscourts.zoomgov.com/meeting/register/vJIsc-mhrzIjE-bzoH-
      5SpctbVpSxEZEe3s.

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DOCS_DE:244043.1 96859/001
                 Case 23-11069-CTG       Doc 34     Filed 08/07/23     Page 2 of 4




                 PLEASE TAKE FURTHER NOTICE that the Debtors have attached to the

DIP Financing Motion: (a) the proposed Interim Order (I) Authorizing the Debtors to (A) Obtain

Postpetition Financing, (B) Use Cash Collateral, and (C) Grant Liens and Superpriority

Administrative Expense Claims, (II) Granting Adequate Protection to Certain Prepetition Secured

Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting

Related Relief (the “Proposed Interim DIP Order”); and (b) the proposed Interim UST Cash

Collateral and Adequate Protection Order (I) Authorizing the Debtors to (A) Use UST Cash

Collateral and All Other Prepetition UST Collateral, (II) Granting Adequate Protection, (III)

Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief

(the “Proposed Interim UST Cash Collateral Order”, and together with the Proposed Interim DIP

Order, the “Proposed Interim Orders”). A copy of the Proposed Interim DIP Order is attached

hereto as Exhibit A and the Proposed Interim UST Cash Collateral Order is attached hereto as

Exhibit B.

                 PLEASE TAKE FURTHER NOTICE that the Debtors intend to seek interim

approval of the DIP Financing Motion and entry of the Proposed Interim Orders in substantially

the forms attached hereto at a hearing conducted entirely via Zoom video conference (the “Interim

Hearing”) before the Honorable Craig T. Goldblatt at the United States Bankruptcy Court for the

District of Delaware (the “Court”), located at 824 North Market Street, 3rd Floor, Courtroom No. 7,

Wilmington, Delaware 19801, on August 9, 2023 at 3:00 p.m. (prevailing Eastern Time). A

copy of the DIP Financing Motion may be obtained for a fee through the Court’s website at

www.deb.uscourts.gov, referencing Case No. 23-11069 (CTG), or a copy may be obtained for free

by accessing the Debtors’ restructuring website at https://dm.epiq11.com/YellowCorporation.




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DOCS_DE:244043.1 96859/001
                 Case 23-11069-CTG         Doc 34     Filed 08/07/23   Page 3 of 4




                 PLEASE TAKE FURTHER NOTICE that, after the Interim Hearing, the

Debtors will serve upon you a complete copy of: (a) the DIP Financing Motion; (b) any Interim

Orders entered by the Court at the Interim Hearing; and (c) notice of the final hearing on the

DIP Financing Motion.



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DOCS_DE:244043.1 96859/001
                 Case 23-11069-CTG      Doc 34      Filed 08/07/23   Page 4 of 4




                 PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to

modify, if necessary, the Proposed Interim Orders before or at the Interim Hearing.

Dated: August 7, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)            Patrick J. Nash Jr., P.C. (pro hac vice pending)
Timothy P. Cairns (DE Bar No. 4228)            David Seligman, P.C. (pro hac vice pending)
Peter J. Keane (DE Bar No. 5503)               Whitney Fogelberg (pro hac vice pending)
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                                               Proposed Co-Counsel for the Debtors and Debtors in
                                               Possession




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DOCS_DE:244043.1 96859/001
